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 14
 15                       UNITED STATES DISTRICT COURT
 16                      CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
 17
 18
      Edwardo Munoz, individually and on
      behalf of all others similarly situated,
 19                             Plaintiff,       Case No. 2:18-cv-03893-RGK-AGR
 20          v.                                    NOTICE OF MOTION AND
 21   7-Eleven, Inc., a Texas corporation,         MOTION FOR CLASS
 22
                                                   CERTIFICATION
                                  Defendant.
 23                                                Date: September 10, 2018
 24                                                Time: 9:00 a.m.
                                                   Judge: Hon. R. Gary Klausner
 25                                                Courtroom: 850
 26                                                Complaint Filed: May 15, 2018

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  1          PLEASE TAKE NOTICE that on September 10, 2018 at 9:00 a.m. at the
  2   United States District Court for the Central District of California, Plaintiff Edwardo
  3   Munoz (“Plaintiff” or “Munoz”) will and hereby does move before the Honorable
  4   R. Gary Klausner for an order:
  5          1.        Certifying the following Classes of individuals pursuant to Federal
  6   Rule of Civil Procedure 23:
  7
             Disclosure Class: All persons in the United States who (1) from a
  8
             date two years prior to the filing of the initial complaint in this action
  9
             to the date notice is sent to the Disclosure Class; (2) applied for
 10
             employment with Defendant; (3) about whom Defendant procured a
 11
             consumer report; and (4) who were provided the same form FCRA
 12
             disclosure and authorization as the disclosure and authorization form
 13
             that Defendant provided to Plaintiff.
 14
             California Subclass: All members of the Disclosure Class who
 15
             reside in California.
 16
             2.        Appointing Plaintiff Munoz as the Class Representative; and
 17
             3.        Appointing the law firms of Woodrow & Peluso, LLC and Arias
 18
      Sanguinetti Wang & Torrijos, LLP as Class Counsel.
 19
             The Motion is based on this Notice of Motion, the supporting Memorandum
 20
      of Points and Authorities, and exhibits attached thereto. For the reasons set forth
 21
      herein, the proposed class and subclass meet all of Rule 23’s prerequisites to class
 22
      certification.
 23
             Should the Court find that additional information is required to complete the
 24
      class certification inquiry, Plaintiff hereby respectfully requests that the Court
 25
      reserve its ruling on the instant motion and allow for discovery to take place on
 26
      class-wide issues, at the conclusion of which Plaintiff will file a fulsome
 27
 28
                                      Notice of Motion for Class Certification
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  1   memorandum in support of the instant motion detailing the appropriateness of class
  2   certification.
  3                                            Respectfully submitted,
  4
  5
      Dated: August 13, 2018                   Edwardo Munoz, individually and on behalf
                                               of all others similarly situated,
  6
  7                                    By:      /s/ Patrick H. Peluso
                                               One of Plaintiff’s Attorneys
  8

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 13   Attorneys for Plaintiff and the alleged Classes
 14                        UNITED STATES DISTRICT COURT
 15         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 16
      Edwardo Munoz, individually and on         Case No. 2:18-cv-03893-RGK-AGR
 17   behalf of all others similarly situated,
 18                             Plaintiff,
                                                 MEMORANDUM IN SUPPORT OF
 19          v.                                  PLAINTIFF’S MOTION FOR
                                                 CLASS CERTIFICATION
 20   7-Eleven, Inc., a Texas corporation,
 21                                                  Date: September 10, 2018
                                Defendant.
                                                     Time: 9:00 a.m.
 22                                                  Judge: Hon. R. Gary Klausner
 23                                                  Courtroom: 850
                                                     Complaint Filed: May 15, 2018
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  1   I.    INTRODUCTION
  2         This case challenges Defendant 7-Eleven, Inc.’s (“Defendant” or “7-Eleven”)
  3   serial violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA”
  4   or “Act”), specifically the Act’s background check disclosure (“Disclosure”) rules.
  5   In short, 7-Eleven’s Disclosure is riddled with extraneous information in violation of
  6   the FCRA. Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) is just one of many 7-
  7   Eleven applicants and employees who received the same unlawful Disclosure prior
  8   to 7-Eleven’s procurement of consumer reports about them. As a result, Munoz
  9   seeks statutory damages on behalf of himself and all other 7-Eleven applicants and
 10   employees who received the same Disclosure.
 11         Munoz now moves to certify the alleged Classes. His claims plainly satisfy
 12   each requirement for class certification under Rule 23: the proposed Classes are
 13   sufficiently numerous, common questions of law and fact predominate over
 14   individual issues, Plaintiff’s claims are typical of those of the Class members, and
 15   Munoz is an adequate representative and is represented by counsel experienced and
 16   well-versed in class action litigation. Finally, a class action is the superior method
 17   for resolving the claims at issue, as it would be impracticable and inefficient to force
 18   each individual class member to litigate his, her, or its claims separately when they
 19   can be resolved on a class-wide basis.
 20         As such, there exists a certifiable Class and Subclass consisting of the
 21   following people:
 22         Disclosure Class: All persons in the United States who (1) from a
 23         date two years prior to the filing of the initial complaint in this action
 24         to the date notice is sent to the Disclosure Class; (2) applied for
 25         employment with Defendant; (3) about whom Defendant procured a
 26         consumer report; and (4) who were provided the same form FCRA
 27
 28
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   1         disclosure and authorization as the disclosure and authorization form
   2         Defendant provided to Plaintiff.
   3
             California Subclass: All members of the Disclosure Class who reside
   4
             in California.
   5
             Given the uniformity of 7-Eleven’s Disclosure practices, Munoz’s claims and
   6
       the claims of every other person in the classes succeed or fail for the exact same
   7
       reasons. First, 7-Eleven’s pre-report Disclosure either “stands-alone” and is “clear
   8
       and conspicuous” as required by the FCRA for Munoz and every class member or
   9   for none of them. Second, 7-Eleven either acted willfully with respect to Munoz and
  10   the other applicants and employees to whom it provided its unlawful disclosure or it
  11   acted willfully towards none of them.
  12         The answers to these two questions rely on the same evidence, are identical
  13   for each class member, and will drive the resolution of the litigation for the proposed
  14   Class and Subclass as collective wholes. Accordingly, and as explained below, the
  15   Court should grant certification.
  16         To the extent the Court determines further evidence is necessary for the
  17   purposes of establishing any element of Rule 23 or to counter any opposition raised
  18   by Defendant, Plaintiff requests that the Court permit class discovery on those issues
  19
       and defer consideration of this motion pending such discovery on the relevant issues,
  20
       followed by supplemental briefing supported by substantial evidence.1
  21
  22   1
         The Parties submitted a Joint Stipulation on June 4, 2018 which requested, inter
  23   alia, that the 90-day class certification deadline established in Local Rule 23-3 be
  24   vacated and re-docketed at the Scheduling Conference (presently set for October 22,
       2018) to allow for an appropriate period of class discovery. (See Dkt. 21.) The Court
  25   denied this joint request. (See Dkt. 22.) 7-Eleven responded to the Complaint on July
  26   23, 2018, but has not responded to discovery. Plaintiff is thus required to move for
       class certification without the benefit of class discovery. This appears inconsistent
  27   with Rule 23’s requirement that certification be decided “at an early practicable
  28   time,” which marked a departure from prior language requiring that certification be
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   1   II.   STATEMENT OF FACTS
   2         7-Eleven is a Texas corporation based in Irving, Texas. (Compl. ¶ 9.)
   3   Defendant has thousands of job applicants and employees. (Id. ¶ 23.) During its
   4   employment process, 7-Eleven presents its applicants and employees with a
   5   document styled, “Disclosure Regarding Background Investigation” (the
   6   “Disclosure”). (Id. ¶ 16.) The Disclosure includes unnecessary extraneous
   7   information, which renders the document confusing to the average consumer, and
   8   violates the FCRA’s mandate that the disclosure be set forth “in a document that
   9   consists solely of the disclosure.” (Id. ¶¶ 6, 17.)
  10         In January 2018, Plaintiff Munoz applied for a position with 7-Eleven at a
  11   store in Los Angeles, California. (Compl. ¶ 14.) During the application process,
  12   Plaintiff was required to complete various acknowledgments of company disclosures
  13   including the disclosure regarding background and criminal history. (Id. ¶ 15.)
  14         The Disclosure presented to Plaintiff was riddled with additional information,
  15   including disclosures for both a consumer report and an investigative consumer
  16   report (including details regarding the nature and scope of any investigation), and
  17   other extraneous information. (Compl. ¶ 16.) In addition to the investigative
  18   consumer report disclosures, the Disclosure also contained: (1) extensive details
  19   about Sterling Talent Solutions, its privacy policy, and a reservation of rights
  20   regarding prospective consumer reporting agencies, (2) acknowledgments that the
  21   signer understands that by signing the disclosure 7-Eleven may revoke a previously-
  22   extended offer of employment, (3) an authorization purporting to grant “any party or
  23   agency contacted by 7-Eleven” to furnish whatever information that 7-Eleven
  24   requests, and (4) other repetitive and unnecessary information. (Id.) The inclusion of
  25   such extraneous information rendered the Disclosure confusing to Munoz and the
  26
  27   decided “as soon as practicable after commencement of an action” specifically so as
  28   to allow Courts to permit class discovery where needed.
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   1   average consumer (Id. ¶¶ 6, 17.) Shortly after being hired by 7-Eleven, Plaintiff was
   2   fired based on information procured as a result of the disclosure. (Id. ¶ 19.)
   3          Given that such extraneous information nakedly violates the plain language of
   4   the FCRA—specifically, its dual requirements that the disclosure be “clear and
   5   conspicuous” and in a “document that consists solely of the disclosure”—Munoz
   6   filed the instant lawsuit.
   7          The specific number of persons who received the Disclosure is unknown at
   8   this time, but, on information and belief, Defendant has thousands of employees and
   9   an even greater number of job applicants who all received the same Disclosure. As
  10   such, and for the reasons set forth below, the Court should certify the proposed Class
  11   and Subclass.
  12   III.   THE PROPOSED CLASS AND SUBCLASS MEET RULE 23’S
  13          REQUIREMENTS.
  14          Class certification is appropriate under Rule 23 when the movant presents
  15   facts to satisfy each of the requirements of Rule 23(a) and at least one of the
  16   subsections of Rule 23(b). Rule 23(a) requires that: (i) the proposed class is so
  17   numerous that joinder of all individual class members is impracticable (numerosity);
  18   (ii) there are common questions of law and fact amongst class members
  19   (commonality); (iii) the proposed representative’s claims are typical of those of the
  20   class (typicality); and (iv) both the named-representative and his or her counsel have
  21   and will continue to adequately represent the interests of the class (adequacy). Fed.
  22   R. Civ. P. 23(a).
  23          With respect to Rule 23(b), in this case certification is sought under Rule
  24   23(b)(3) for the Disclosure Class and under both Rule 23(b)(2) and Rule 23(b)(3) for
  25   the California Subclass. For a (b)(2) class, the proponent must show that the
  26   defendant has acted or refused to act on grounds generally applicable to the class.
  27   Under Rule 23(b)(3), there must be questions of law or fact common to the proposed
  28
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   1   class members that predominate over any questions affecting only individual
   2   members, the class mechanism must be superior to other available methods for fairly
   3   and efficiently adjudicating the controversy, and the case must be manageable as a
   4   class action. Fed. R. Civ. P. 23(b)(3).
   5         A court generally does not inquire into the merits of the plaintiff’s claims when
   6   considering certification. See Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177
   7   (1974). Moreover, though a plaintiff seeking certification must make a prima facie
   8   showing on each of the elements of Rule 23, “an extensive evidentiary showing” is
   9   not required. Blackie v. Barrack, 524 F.2d 891, 901 (9th Cir. 1975).
  10         As explained below, the Class and Subclass satisfy Rules 23(a), (b)(2), and
  11   (b)(3) and should be certified.
  12         A.     The Requirements of Rule 23(a) are Satisfied Here.
  13         First, the proposed Classes meet each of the requirements for Rule 23(a) and
  14   Local Rule 23-2.2. That is, class membership is defined and ascertainable through
  15   objective criteria, the Classes are sufficiently numerous, the class members share
  16   common issues, including whether the Disclosure is “stand-alone” and “clear and
  17   conspicuous” as required, Munoz’s claims are typical of the class, and Munoz and
  18   his counsel will adequately represent the interests of the class.
  19         All of these considerations support certification of the proposed Classes here.
  20                1.     Class membership is ascertainable through reference to
  21                       entirely objective criteria.
  22         Although Rule 23 doesn’t expressly require that a proposed class be
  23   ascertainable, courts imply such a condition. See Pryor v. Aerotek Scientific, LLC,
  24   278 F.R.D. 516, 523 (C.D. Cal. 2011). “A class definition should be precise,
  25   objective, and presently ascertainable . . . [h]owever the class need not be so
  26   ascertainable that every potential member can be identified at the commencement of
  27   the action.” O’Connor v. Boeing North Am., Inc., 184 F.R.D. 311, 319 (C.D. Cal.
  28
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   1   1998). This District has made this rule express through Local Rule 23-2.2(a), which
   2   requires “a definition of the proposed class.” A class definition is sufficient if it is
   3   “definite enough so that it is administratively feasible for the court to ascertain
   4   whether an individual is a member.” Gardner v. Shell Oil Co., C-09-5876-CW, 2011
   5   WL 1522377 at *3 (N.D. Cal. Apr. 21, 2011); see also 5 JAMES WM. MOORE ET AL.,
   6   MOORE’S FEDERAL PRACTICE, ¶ 23.21[1] (3d ed. 2001) (“The identity of class
   7   members must be ascertainable by reference to objective criteria.”). Objective
   8   criteria may include a defendant’s business records. See, e.g., Gardner, 2011 WL
   9   1522377 at *4; see also Mazza v. Am. Honda Motor Co., 254 F.R.D. 610, 617-18
  10   (C.D. Cal. 2008).
  11         The proposed Class and Subclass at issue here are both ascertainable by
  12   reference to objective criteria. There is nothing subjective about whether an
  13   individual applied to work for 7-Eleven, whether they were provided the same
  14   Disclosure form as the form given to Munoz, or whether 7-Eleven acted willfully.
  15   Indeed, 7-Eleven has records of who it provided the Disclosure to and about whom it
  16   obtained consumer reports. While it is unnecessary for Munoz to identify each
  17   potential class member at this time, it is plain that class membership is based on
  18   objective criteria, including 7-Eleven’s own data, and any questions can be resolved
  19   through declaratory and documentary evidence. As such, membership in the
  20   proposed Class and Subclass is ascertainable.
  21                2.     The Proposed Class and Subclass are Sufficiently Numerous.
  22         Rule 23(a)(1) requires that the class be “so numerous that joinder of all
  23   members is impracticable.” Fed. R. Civ. P. 23(a)(1); see also Local Rule 23-2.2(b)
  24   (requiring motion for class certification state the approximate size of the proposed
  25   class). Courts have held that just 40 class members typically satisfies the numerosity
  26   requirement. See Gomez v. Rossi Concrete, Inc., 270 F.R.D. 579, 588 (S.D. Cal.
  27   2010).
  28
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   1          Here, Munoz alleges that 7-Eleven has thousands of employees and an even
   2   greater number of job applicants. (Compl. ¶ 23.) There is nothing to suggest that the
   3   form was made special for Munoz or that he was given a form that was only
   4   provided to a handful of others. Thus, the form Disclosure 7-Eleven provided Munoz
   5   was undoubtedly provided to numerous other persons. To the extent more specific
   6   information is needed, such detail can only be obtained through discovery, which
   7   Plaintiff has not yet had a fair opportunity to conduct.
   8          Common sense indicates that numerosity is met here, and to the extent more
   9   evidence is required it may be obtained through discovery.
  10                 3.      Plaintiff’s claims present common questions of law and fact.
  11          Rule 23(a) next requires that “there are questions of law or fact common to the
  12   class.” Fed. R. Civ. P. 23(a)(2); see also Local Rule 23-2.2(d). To meet commonality
  13   requirement, the representative plaintiff must demonstrate that the proposed class
  14   members “have suffered the same injury.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct.
  15   2541, 2551 (2011) (quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157
  16   (1982)). Commonality is a permissive standard. Wiener v. Dannon Co., Inc., 255
  17   F.R.D. 658, 664 (C.D. Cal. 2009). “[E]ven a single common question will do.” Dukes,
  18   131 S. Ct. at 2556.
  19          As the Supreme Court explained in Dukes, “[w]hat matters to class
  20   certification . . . is not the raising of common ‘questions’—even in droves—but,
  21   rather the capacity of a classwide proceeding to generate common answers apt to
  22   drive the resolution of the litigation. See Dukes, 131 S. Ct. at 2551 (commonality
  23   requires that the claims of the class “depend upon a common contention . . . of such
  24   a nature that it is capable of classwide resolution—which means that determination
  25   of its truth or falsity will resolve an issue that is central to the validity of each one of
  26   the claims in one stroke.”). Rule 23(a)(2) commonality may be met by a single issue
  27   of law or fact. In re First Alliance Mortgage Co., 471 F.3d 977, 990-91 (9th Cir.
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   1   2006). The issues need not be identical. Hanlon v. Chrysler Corp., 150 F.3d 1011,
   2   1019 (9th Cir. 1998). “When common questions present a significant aspect of the
   3   case and they can be resolved for all members of the class in a single adjudication,
   4   there is clear justification for handling the dispute on a representative rather than an
   5   individual basis.” In re Static Random Access Memory (SRAM) Antitrust Litig., 264
   6   F.R.D. 603, 611 (N.D. Cal. 2009). Commonality has been characterized as a
   7   relatively low and easily surmountable hurdle. Scholes v. Stone, McGure, &
   8   Benjamin, 143 F.R.D. 181, 185 (N.D. Ill. 1992).
   9         In this case, the litigation will generate common answers for the Classes,
  10   namely: (1) whether the Disclosure met the “stand-alone” and “clear and
  11   conspicuous” requirements set forth in the statute, and (2) whether 7-Eleven acted
  12   willfully. Plaintiff’s Complaint is limited to one count alleging violations of the
  13   FCRA and one count alleging violations of the unlawful prong of the UCL on behalf
  14   of the California-only Subclass stemming from the FCRA violations.
  15         The alleged violations are identical with respect to each class member. For the
  16   “Disclosure Class,” each claim involves the same disclosure and authorization
  17   regarding the possibility of consumer report procurement that was provided to
  18   Plaintiff. Insofar as the Disclosure failed to “stand alone,” it was similarly unlawful
  19   with respect to every recipient in the exact same way. It was a form disclosure,
  20   which presents a textbook class action.
  21         And if the Disclosure failed to stand-alone, that FCRA violation was either
  22   willful or not willful as it relates to everyone—indeed, a sophisticated company like
  23   7-Eleven had ample opportunity to ensure compliance with the FCRA prior to
  24   drafting and utilizing the Disclosure. Moreover, there is no evidence that 7-Eleven
  25   singled-out Plaintiff or others for a faulty Disclosure while providing compliant
  26   disclosures to other applicants and employees. Hence, while a hearing on the merits
  27   will ultimately determine who is correct, at this point what matters for commonality
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   1   purposes is the fact that the answers to these questions are identical across the entire
   2   Class—satisfying the commonality prong.
   3                4.     Plaintiff Munoz’s claims are typical.
   4         Rule 23(a)(3)'s typicality requirement ensures that “the interests of the named
   5   representative align with the interests of the class.” Wolin v. Jaguar Land Rover N.
   6   Am. LLC, 617 F.3d 1168, 1175 (9th Cir. 2010); see also Fed. R. Civ. P. 23(a)(3).
   7   When analyzing typicality, courts look to “whether other members have the same or
   8   similar injury, whether the action is based on conduct which is not unique to the
   9   named plaintiffs, and whether other class members have been injured by the same
  10   course of conduct.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir.
  11   1992).
  12         The typicality requirement “is ‘permissive’ and requires only that the named
  13   plaintiff’s claims [be] ‘reasonably coextensive with those of the absent class
  14   members.’” Stemple v. QC Holdings, Inc., No. 12-cv-01997, 2014 WL 4409817, at
  15   *5 (S.D. Cal. Sept. 5, 2014).
  16         Applied here, Munoz’s claims are typical of the proposed class. Like the other
  17   class members, Munoz received the same form Disclosure that allegedly fails to
  18   stand-alone. Likewise, each class member was also subjected to the same corporate
  19   practices and procedures that led to the use of the unlawful Disclosures, and Munoz
  20   seeks the same statutory damages for everyone. Munoz also resides in California,
  21   like the other Subclass members.
  22         Simply put, Munoz’s claims are based on the same legal theories as the other
  23   class members, and his interests align with those of the Class and Subclass. The
  24   typicality requirement is plainly satisfied here.
  25                5.     Plaintiff and his counsel will fairly and adequately
  26                       represent the class.
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   1         Munoz will also fairly and adequately protect the interests of the class. Fed. R.
   2   Civ. P. 23(a)(4). The adequacy requirement considers whether the plaintiff and his
   3   counsel have any conflicts of interest and whether plaintiff is represented by
   4   qualified and competent counsel. See Hanlon, 150 F.3d at 1020. “Only a conflict
   5   that goes to the very subject matter of the litigation will defeat a party’s claim of
   6   representative status.” O’Connor v. Boeing N. Am. Inc., 180 F.R.D. 311, 375 (C.D.
   7   Cal. 1998). Adequacy is only defeated by actual conflicts. Soc. Servs. Union, Local
   8   535 v. County of Santa Clara, 609 F.2d 944, 948 (9th Cir. 1979). The class
   9   representative and class counsel must have the “zeal and competence” required to
  10   protect the interests of the absent class members. Evans v. IAC/Interactive Corp.,
  11   244 F.R.D. 568, 577 (C.D. Cal. 2007).
  12         Here, Plaintiff’s interests are entirely consistent with the interests of the
  13   proposed classes. Munoz received the same form Disclosure from Defendant and
  14   seeks the same damages. Plaintiff has stepped forward to lend his time and name to
  15   the pleadings and will continue to participate in the litigation to protect the interests
  16   of the classes. Simply put, Munoz has demonstrated his willingness and ability to
  17   serve as a class representative.
  18         Plaintiff and the Classes are also represented by qualified counsel with
  19   extensive experience in consumer class actions. Similarly, proposed class counsel
  20   are respected members of the legal community who have sufficient experience in
  21   class actions of similar size, scope, and complexity to the instant action. (See Firm
  22   Resume of Woodrow & Peluso, LLC, attached as Exhibit 1 to the Peluso Declaration,
  23   Ex. A.) Proposed Class counsel are familiar with the FCRA and have regularly
  24   engaged in major complex litigation involving the FCRA. (Id.) Counsel also have the
  25   resources necessary to litigate this case. As such, Munoz and his lawyers have and will
  26   continue to adequately represent the Classes in satisfaction of Rule 23(a)(4)’s
  27   adequacy element.
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   1         B.     The Requirements of Rule 23(b)(2) and (b)(3) are Also Satisfied.
   2         Certification under Rule 23(b)(2) requires proof that the defendant has acted
   3   on grounds generally applicable to the class as a whole so as to justify class-wide
   4   injunctive relief and corresponding declaratory relief. Fed. R. Civ. P. 23(b)(2). To
   5   certify a class under Rule 23(b)(3), Plaintiff must show that the common questions
   6   of law and fact predominate over any questions effecting only individual members
   7   of the class and that the class mechanism is superior to other methods for
   8   adjudicating the controversy. See In re Wells Fargo Home Mortg. Overtime Pay
   9   Litig., 571 F.3d 953, 957 (9th Cir. 2007). Certification under Rule 23(b)(3) is
  10   encouraged when “the actual interests of the parties can be served best by settling
  11   their differences in a single action.” Hanlon, 150 F.3d at 1022.
  12         As set forth below, certification under Rule 23(b)(3) is appropriate for the
  13   Disclosure Class and certification under both Rule 23(b)(2) and (b)(3) is appropriate
  14   for the California Subclass.
  15                1.     7-Eleven has acted on grounds generally applicable to the
  16                       California Subclass as a whole.
  17         Rule 23(b)(2) provides that the party opposing certification must have acted or
  18   failed to act on grounds generally applicable to the proposed class making “final
  19   injunctive relief or corresponding declaratory relief . . . appropriate.” Dukes, 131
  20   S.Ct. at 2557 (quoting Fed. R. Civ. P. 23(b)(2)). That is precisely the case here. 7-
  21   Eleven has procured consumer reports about job applicants and employees without
  22   first providing a stand-alone, clear and conspicuous Disclosure as required. The
  23   Disclosure is identical across the entire Subclass—there is no one who received a
  24   separate disclosure that would require individualized trials. Further, there is no
  25   indication that 7-Eleven has stopped such practices. As the California Unfair
  26   Competition Law ("UCL") Cal. Bus. & Prof. Code § 17200, et seq. allows for
  27   injunctive relief to stop unlawful practices with respect to California consumers,
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   1   coupled with the fact that 7-Eleven has treated everyone in the Subclass in exactly
   2   the same way, the Court should certify the California Subclass under Rule 23(b)(2).
   3                2.     Each of the requirements of Rule 23(b)(3) are met as well.
   4         The record also demonstrates satisfaction of Rule 23(b)(3) for both the Class
   5   and Subclass. As explained below, the common questions in the case predominate of
   6   any perceived individualized issues, a class action would be manageable here, and a
   7   class action is superior to any other method for adjudicating the controversy.
   8                       a.    Common questions of law and fact predominate.
   9         The crux of the predominance analysis focuses on the balance between
  10   individual and common issues. Id. “Implicit in the satisfaction of the predominance
  11   test is the notion that the adjudication of common issues will help achieve judicial
  12   economy.” Valentino v. Carter-Wallace, Inc. 97 F.3d 1227, 1234 (9th Cir. 1996).
  13   Common questions predominate over individual questions where “the issues in the
  14   class action are subject to generalized proof, and thus applicable to the class as a
  15   whole . . . predominate over those issues that are subject to individualized proof.”
  16   Rutstein v. Avis Rent-A-Car System, Inc., 211 F.3d 1228, 1233 (11th Cir. 2000).
  17         As explained above, the main issues in this case ask whether 7-Eleven’s form
  18   Disclosure satisfies the FCRA’s stand-alone requirement and whether 7-Eleven’s
  19   violations were willful. These issues are susceptible to generalized, class-wide proof
  20   and the same evidence will be used for each class member. The answers to these
  21   common questions are necessarily subject to common evidence, primarily from
  22   information to be found within 7-Eleven’s own records. Dukes, 131 S. Ct. at 2551
  23   (“What matters to class certification . . . is not the raising of common ‘questions’—
  24   even in droves—but, rather the capacity of a classwide proceeding to generate
  25   common answers apt to drive the resolution of the litigation.”).
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   1         In short, a single adjudication can resolve these common questions for the
   2   entire class with a single stroke of the pen. Thus, common questions predominate
   3   over individual issues.
   4                       b.     The Classes would be manageable—Defendant has
   5                              names and other information for each person who
   6                              received its Disclosure.
   7         Rule 23(b)(3) also requires the Court to examine the likely difficulties of
   8   managing and maintaining a class action. See Zinser v. Accufix Research Inst., 253
   9   F.3d 1180, 1189 (9th Cir. 2001). “A class action is not manageable if membership of
  10   the class cannot be sufficiently well-defined at the outset.” See Rowden v. Pac.
  11   Parking Sys., Inc., 282 F.R.D. 581, 585 (C.D. Cal. 2012) (citing William Schwarzer,
  12   A. Wallace Tashima, & James Wagstaffe, Federal Civil Procedure Before Trial §
  13   10:432 (2006)). “A well-defined class must be not only precise, but also objective
  14   and presently ascertainable.” Rowden, 282 F.R.D. at 585 (citing O'Connor v. Boeing
  15   N. Am., Inc., 184 F.R.D. 311, 319 (C.D. Cal. 1998)). A serious, and perhaps
  16   insurmountable, manageability problem arises if each member has to litigate
  17   separate issues to establish his or her right to recover individually. See Zinser, 253
  18   F.3d at 1192 (“If each class member has to litigate numerous and substantial
  19   separate issues to establish his or her right to recovery individually a class action is
  20   not ‘superior.’”) The question of manageability encompasses “the whole range of
  21   practical problems that may render the class action format inappropriate for a
  22   particular suit.” Eisen v. Carlisle & Jacquelin, 417 U.S. 156 (1974).
  23         Manageability presents no hurdle here. 7-Eleven certainly has or can produce
  24   a list of persons who it procured a consumer report about for employment purposes
  25   after such persons were provided the Disclosure and can produce documents
  26   sufficient to identify such persons. From that point the identities of the class
  27   members can be discerned through 7-Eleven’s records, which likely contain names,
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   1   street addresses, and other personal contact information. With this data, which can
   2   be updated, members of the Classes can be informed individually by first class mail,
   3   phone, or email of the action and, should Munoz prevail, the relief secured/made
   4   available. This far exceeds the floor of notice by publication.2
   5         Furthermore, to the extent class members are required to submit evidence
   6   demonstrating that they actually received 7-Eleven’s Disclosure, such a claims
   7   process wouldn’t prove unmanageable. Whether a person received the Disclosure is
   8   an objective inquiry that takes little effort to verify. As such, that there may
   9   ultimately be a limited claims process does nothing to defeat a finding of
  10   manageability here. Hence, this case is readily manageable and well-suited for class
  11   determination, and the produced data will add to the ease of management when the
  12   Classes are ultimately certified.
  13                       c.     A class action would also be superior.
  14         Rule 23(b)(3) further requires that the class action mechanism be superior to
  15   the other available methods for the fair and efficient adjudication of the controversy.
  16   The inquiry into whether the class action is the superior method for a particular case
  17   focuses on increased efficiency and economy. See Zinser, 253 F.3d at 1190; see also
  18   Wolin v. Jaguar Land Rover North Am., LLC, 617 F.3d 1168, 1175-76 (9th Cir.
  19   2010).
  20         Class actions are particularly appropriate when they allow plaintiffs with
  21   similar claims to jointly bear the cost of litigation. See Amchem Prods., Inc. v.
  22   Windsor, 521 U.S. 591, 615 (1997) (stating that the “very core of the class action
  23   mechanism is to overcome the problem that small recoveries do not provide an
  24
  25   2
        Munoz requests that he be permitted leave to file a Notice Plan for disseminating
  26   notice to the Class Members within thirty (30) days of the any Order granting
       certification. The notice should be by direct mail and should inform Class and
  27   Subclass members of the nature of the action, the status of the case, and information
  28   about their ability to request exclusion. See Local Rule 23-2.2(g).
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   1   incentive for any individual to bring a solo action prosecuting his or her rights”); see
   2   also Valentino, 97 F.3d at 1234. This is particularly true when the damages at stake
   3   are “not large.” McKenzie v. Federal Express Corp., 275 F.R.D. 290, 301 (C.D. Cal.
   4   2011) (damages were considered “not large” when the maximum statutory recovery
   5   was $4,000 for each class member).
   6          This proposed class action is superior to other available methods for
   7   adjudicating Munoz’s and the Classes’ claims. Absent class treatment in this case,
   8   each individual member of the Classes would be required to present the same legal
   9   and factual arguments supported by identical evidence, in separate and duplicative
  10   proceedings. The result would be a multiplicity of trials conducted at enormous
  11   expense to both the judicial system and the litigants. It would also present the risk of
  12   inconsistent rulings. That is of course neither efficient nor fair to anyone, including
  13   7-Eleven.
  14          Moreover, there is no indication that members of the Classes have a strong
  15   interest in individual litigation, let alone any incentive to pursue their claims
  16   individually, given the small amount of damages likely to be recovered relative to the
  17   resources required to prosecute such an action. Further, class certification will
  18   promote consistency of rulings and judgments, giving all parties the benefit of
  19   finality. Indeed, thousands of trials (which wouldn't be brought given the low
  20   individual amounts at issue) would necessarily threaten divergent findings regarding
  21   the sufficiency of the opt-out language.
  22          Simply put, the class action device is the superior method of adjudication
  23   here—no other realistic alternative exists.
  24   IV.    CONCLUSION
  25         The proposed Classes meet all the requirements for certification under Rule
  26   23(a) and (b)(3) and the Subclass also meets the requirements of Rule 23(b)(2). With
  27   thousands of readily identifiable persons who received 7-Eleven’s Disclosure, the
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   1   class action mechanism is the most effective method to adjudicate the claims of the
   2   class members.
   3        WHEREFORE, for these and the foregoing reasons, Plaintiff respectfully
   4   requests that the Court grant his motion for certification of the Class and Subclass,
   5   appoint him as Class Representative and his counsel as Class Counsel, order that a
   6   Notice Plan be submitted within thirty (30) days of certification, and grant all other
   7   and further relief that the Court deems reasonable and just.
   8
   9                                            Respectfully submitted,
  10
  11   Dated: August 13, 2018                   Edwardo Munoz, individually and on behalf
                                                of all others similarly situated,
  12
  13                                     By:     /s/ Patrick H. Peluso
                                                One of Plaintiff’s Attorneys
  14
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   1                            CERTIFICATE OF SERVICE
   2         The undersigned hereby certifies that a true and correct copy of the above
   3   titled document was served upon counsel of record by filing such papers via the
   4   Court’s ECF system on August 13, 2018.
   5                                                /s/ Patrick H. Peluso
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